Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 1 of 44




                   EXHIBIT A
        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 2 of 44




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


   FRANKLIN ARMORY HOLDINGS, INC., a
   Nevada  Corporation;   and     FRANKLIN
   ARMORY, INC., a Nevada Corporation,                          CIVIL ACTION NO. 2:20-CV-5681

                                Plaintiffs,
   v.

   ROBERT JOSEPH GALLAGHER, an
   individual; and IN THE FIELD DEFENSE, a
   sole proprietorship,

                               Defendants.


SUR-REPLY TO THE MOTION OF RICHARD P. GILLY, ESQ., TREVOR J. COONEY,
  JR., ESQ., AND KATE A. SHERLOCK, ESQ. TO WITHDRAW AS COUNSEL OF
                        RECORD FOR DEFENDANTS

        Plaintiffs Franklin Armory Holdings, Inc. and Franklin Armory, Inc. (collectively,

“Plaintiffs”) respectfully submit the following Sur-Reply to address several legal and factual

inaccuracies concerning the status of In The Field Defense, LLC as a party to this action, as well

as what actually transpired and was discussed during the parties’ recent meet and confer discussion

concerning Defendants’ deficient Invalidity Contentions. Plaintiffs also seek address Defense

Counsel’s false accusations of ad hominin attacks purportedly made by Counsel for Plaintiffs.

Plaintiffs also object to Defense Counsel’s attempt to assert additional arguments supporting a

separately filed motion to stay. Plaintiffs do not concede these arguments are meritorious and will

address them in due course via Plaintiffs’ forthcoming opposition to that motion.

        A.     In The Field Defense, LLC is a Defendant in this Action

        Defense Counsel argues that there is no issue with Defendants representing themselves

because In the Field Defense, LLC is not a party to this action. This directly contradicts their prior
        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 3 of 44




representations to Plaintiffs’ Counsel and their filings with the Court. Plaintiffs originally filed

their complaint against Defendant Robert Gallagher and In The Field Defense, which was a sole

proprietorship operated by Mr. Gallagher. Shortly after Plaintiffs filed their complaint, Mr.

Gallagher stealthily formed a Limited Liability Company in the same name on or about November

25, 2020, and In The Field Defense, LLC took over the manufacturing and sale of the accused

products. See Doc. No. 1, ¶ 4 and Doc. No. 43-1, ¶¶ 4-5, Exh. 2.

       It was not until the parties’ discussions over Defendants’ request for an extension of time

to respond to the Complaint in late January 2021 that Defense Counsel disclosed to Plaintiffs the

formation of the LLC. Declaration of Jeffrey Ratinoff (“Ratinoff Decl.”), ¶ 3, Exh. 1. Notably,

the draft stipulation sent by Defense Counsel identified the defendants as Robert Joseph Gallagher

and In The Field Defense, LLC. Id. ¶ 4, Exh. 2. To ensure there was no misunderstanding that

In The Field Defense, LLC was now a defendant as the successor entity to the sole proprietorship,

Plaintiffs specifically requested that this be reflected in the stipulation. Id., Exh. 3 and Doc. No.

5. Defense Counsel agreed and revised the stipulation accordingly. Id. This is further reflected

in both the original and amended answers filed by Defendants, which specifically identify

Defendants as “Robert Joseph Gallagher and In The Field Defense, a sole proprietorship (n/k/a

In The Field Defense, LLC) (“ITFD”) (together, the ‘Defendants’) hereby respond to the

Complaint of Plaintiffs….” Doc. No. 14, p. 1 and Doc. No. 17, p. 1 (emphasis added). Thus,

Defense Counsel and their clients are now estopped from taking a contrary position.

       Defense Counsel’s argument also puts form over substance as In The Field Defense, LLC

is the real party in interest. It is well established under Fed.R.Civ.P. 25(c) that where a party to a

lawsuit assigns or otherwise transfers its interest during the course of the proceedings, a motion

may be made to substitute the assignee. See Luxliner P.L. Export, Co. v. RDI/Luxliner, Inc., 13



                                                  2
        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 4 of 44




F.3d 69, 71-72 (3rd Cir. 1993); see also Minnesota Mining & Mfg. Co. v. Eco Chem, Inc., 757

F.2d 1256, 1262 (Fed. Cir. 1985) (joinder of accused infringer’s successor-in-interest under Rule

25(c) proper when transfer occurred during pendency of suit); accord Crucible, Inc. v. Stora

Kopparbergs Bergslags AB, 701 F. Supp. 1157, 1169-70 (W.D. Pa. 1988) (ordering joinder of

successor-operator of the assets used to produce infringing products under Rule 25(c)). Thus,

Defense Counsel cannot merely rely on the case caption to argue that all Defendants can be legally

represented pro se by Mr. Gallagher.

       B.       Defense Counsel Fails to Address the Irreparable Harm that Plaintiffs Would
                Incur in Producing Attorneys’ Eyes Only Documents to Mr. Gallagher

       One of the critical issues raised by Plaintiffs is the conundrum they would be placed in if

they were required to produce Attorneys’ Eyes Only material directly to Mr. Gallagher. Defense

Counsel simply claims it is “hypothetical” without actually addressing the irreparable harm that

Plaintiffs will suffer as a direct result of Mr. Gallagher proceeding pro se, and spend the majority

of their brief trying to convince the Court Mr. Gallagher is more than capable of representing

himself. Doc. No. 49, p. 8. Defense Counsel’s argument that “Plaintiffs have not identified a

single document or category of documents that could not be adequately protected with the

‘Confidential’ designation and appropriate redactions” is equally specious. Id.

       Notably, Defense Counsel does not dispute that the parties are direct competitors, and is

experienced enough to know that a patentee must invariably produce highly confidential and

competitively sensitive information to bolster its case. Indeed, Defense Counsel recently signed

onto the Stipulated Protective Order recognizing this fact. Doc. No. 48, §§ 2.8, 7.3. As with any

patent case, Plaintiffs will need to produce proprietary design and manufacturing documents

reflecting commercial embodiments of the patented inventions, as well as highly confidential sales

and marketing data to support their damages claim. In their attempt to abandon their client,


                                                 3
        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 5 of 44




Defense Counsel offers no meaningful explanation as to why Plaintiffs should be put in the

impossible position of either producing such highly confidential materials to their competitor, or

risk violating their disclosure obligations and being unable to rely upon such materials at trial.

       C.       Defense Counsel Has Not Adequately Addressed Defendants’ Deficient
                Invalidity Contentions and Misrepresents Plaintiffs’ Position Thereon

       Defense Counsel falsely accuses Plaintiffs’ Counsel of engaging in an ad hominin attack

because they raised the issue of Defense Counsel’s prior refusal to meet and confer. It is worth

noting that Defense Counsel only agreed to meet and confer after the Court issued an order

requiring Defendants to explain why Plaintiffs would not be prejudiced by their withdrawal.

Compare Doc. No. 44 and Ratinoff Decl., ¶ 6, Exh. 4 at p. 2.

       What is troubling is that Defense Counsel is misrepresenting what transpired during the

parties’ September 1, 2021 meet and confer call. Plaintiffs never took the position that Defendants

were required to disclose “all documents” showing the operation of the accused products. See

Declaration of Mark Halderman (“Halderman Decl.”) ¶ 7; Ratinoff Decl., ¶¶ 10-11, Exh. 5.

Rather, they pointed out that Defendants had not produced any such documents as required, and

requested that Defendants produce CAD files and similar documents sufficient to show the

operation of each such accused product. Id. The continued failure to produce such documents,

which Defendants previously admitted to having within their possession, custody or control, has

prejudiced and will continue to prejudice Plaintiffs. Such documents are directly relevant to claim

construction as they may contain evidence refuting Defendants’ disclosure of the claim terms in

the ’461 Patent they contend are indefinite. See Doc. No. 49-1, Exh. B.

       Finally, Defense Counsel fails to address the Court’s request that Defendants’ explain their

failure to produce “any evidence to support certain positions taken or timely stipulate to dismissal

of those positions.” Doc. No. 44. While it is true that Defense Counsel reconfirmed that Defendants


                                                  4
        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 6 of 44




do not have any documentary evidence to support their prior derivation defense, there is much

more that was discussed by counsel on this issue. Halderman Decl., ¶¶ 2-6; Ratinoff Decl., ¶¶ 7-

9, Exh. 5. Plaintiffs’ Counsel reminded them that Mr. Gallagher’s testimony alone could not meet

the clear and convincing evidentiary standard that applies to such an invalidity defense. Id., see,

e.g. Carella v. Starlight Archery and Pro Line Co., 804 F.2d 135, 138 (Fed. Cir. 1986) (recognizing

that uncorroborated oral testimony to prove prior invention is not considered to be probative).

        Even still, Defendants were required to disclose this testimony in their invalidity

contentions, including the specifics as to how it pertains to each element of each asserted claim of

the ‘461 Patent. Doc. No. 16, p. 2 at ¶ 6; Doc. No. 43-1, ¶ 6. They also failed to identify the five

individuals to whom Mr. Gallagher purportedly sold the accused device between 2011 and 2019

(Doc. No. 17, p. 23 at ¶ 9) or explain when and how each such sale took place. Ratinoff Decl., ¶¶

8-9; Halderman Decl., ¶¶ 5-6. When pressed, Defense Counsel confirmed that they did not have

such evidence, and admitted that they failed to get it from Defendants prior to adding those

allegations to Defendants’ Amended Answer and Counterclaims. Id. Defense Counsel seemed

agitated when reminded that Rule 11 required them to obtain this information from their client

prior to asserting the defense, and yet still refused to stipulate to the dismissal of this defense. Id.

        The prejudice from the continued assertion of this meritless invalidity defense is two-fold.

First, Plaintiffs should not have to incur the expense of litigating what is clearly a baseless

invalidity defense with a pro se defendant who will not understand its legal deficiencies. Second,

the failure to disclose the details of this testimony and provide a claim chart purporting to show

how this prior art reads on each and every claim element impacts claim construction. Indeed, it

remains unclear how Defendants can maintain that certain claim terms are indefinite while also

claiming that Mr. Gallagher previously sold a product embodying the claimed inventions.



                                                   5
       Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 7 of 44




Dated: September 7, 2021

 ARMSTRONG TEASDALE LLP


 By: /s/ Mark W. Halderman
     Mark W. Halderman, Esquire
     2005 Market Street
     29th Floor, One Commerce Square
     Philadelphia, PA 19103
     Telephone: (267) 780-2028
     mhalderman@atllp.com

     Attorney for Plaintiffs Franklin Armory
     Holdings, Inc. and Franklin Armory, Inc.


 HOPKINS & CARLEY


 By: /s/ Jeffrey M. Ratinoff
     Jeffrey M. Ratinoff, Esquire
     Robert K. Jain, Esquire
     The Letitia Building
     70 South First Street
     San Jose, California 95113
     Telephone: (408) 286-9800
     jratinoff@hopkinscarley.com
     rjain@hopkinscarley.com

     Attorneys for Plaintiffs Franklin Armory
     Holdings, Inc. and Franklin Armory, Inc.




                                                6
        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 8 of 44




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FRANKLIN ARMORY HOLDINGS INC., a
Nevada Corporation; and FRANKLIN                          CIVIL ACTION NO. 2:20-CV-5681
ARMORY INC., a Nevada Corporation,

                                      Plaintiffs,

vs.

ROBERT JOSEPH GALLAGHER, an
individual; and IN THE FIELD DEFENSE, a
sole proprietorship,

                                    Defendants.

DECLARATION OF MARK W. HALDERMAN IN SUPPORT OF PLAINTIFFS’ SUR-
REPLY IN OPPOSITION TO THE MOTION OF RICHARD P. GILLY, ESQ., TREVOR
   J. COONEY, JR., ESQ., AND KATE A. SHERLOCK, ESQ. TO WITHDRAW AS
                  COUNSEL OF RECORD FOR DEFENDANT

       I, Mark W. Halderman, being of full age, hereby certify to the following:

       1.      I am a partner with the law firm of Armstrong Teasdale LLP, and attorney of record

for Plaintiffs Franklin Armory Holdings Inc. and Franklin Armory Inc. (collectively “Plaintiffs”)

in the above-captioned matter. Based on my own personal knowledge, I make this declaration in

support of Plaintiffs’ Sur-Reply in Opposition to the Motion of Richard P. Gilly, Esq., Trevor J.

Cooney, Jr., Esq., and Kate A. Sherlock, Esq. to Withdraw as Counsel of Record for Defendants

Robert Joseph Gallagher and In The Field Defense (“Defendants”).

       2.      On September 1, 2021, the parties held a meet and confer concerning deficiencies

in Defendants’ invalidity contentions. In addition to myself, Jeffrey Ratinoff and Robert Jain were

in attendance on behalf of Plaintiffs and Richard Gilly was in attendance for Defendants.

       3.      During the meet and confer, we expressed significant concerns with Defendants’

invalidity contentions—we by no means launched any sort of ad hominem attack on Defense

counsel, as they suggested in the Reply. Mr. Gilly took the position that the omission of previously

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        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 9 of 44




identified alleged prior art (i.e., Hawbaker, Horch, Young, and Defendants’ alleged prior

invention) from Defendants’ invalidity contentions did not waive Defendants’ right to later assert

any invalidity positions based upon these references. We disagreed and expressed our position that

since these references were known to Defendants at the time they served their contentions, any

such claims/defenses have been waived.

       4.      We further disagreed with Mr. Gilly’s position that the invalidity contentions—

which are only 4 pages long and include no claim charts for any section 102 or 103 assertions—

can be freely amended in the future despite Defendants’ failure to complete a reasonable prior art

investigation and timely exchange meaningful contentions in good faith.

       5.      Mr. Gilly also confirmed that Defendants do not have any documentary evidence

supporting their prior derivation invalidity defense and that Defendants intend to rely solely on the

testimony of Mr. Gallagher to support this contention. We indicated that testimony alone falls well

short of what is required under Federal Circuit precedent, and that in any event, Defendants were

required to disclose this and provide some details regarding how that invalidates the ’461 Patent

in their contentions. Consequently, we explained that it was Plaintiffs’ position that this defense

has been waived.

       6.      Further, Mr. Gilly confirmed that he did do not know the identities of the five (5)

individuals who purportedly purchased Defendants’ alleged prior art device between 2011 and

2019 as alleged in Defendants’ Amended Answer and Counterclaims. Plaintiffs indicated that the

Court made clear at the Rule 16 conference that all such evidence was to be disclosed in

Defendants’ invalidity contentions, and thus this raised concerns that there was no colorable basis

to allege such facts in Defendants’ Amended Answer and Counterclaims.




                                                 2
       Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 10 of 44




       7.      We also requested that Defendants produce technical documents (including,

without limitation, CAD files and CNC schematics) sufficient to show the operation of each of the

accused devices identified in Plaintiffs’ preliminary infringement contentions – as required by the

Court’s Scheduling Order. At no time did we ask Defendants to produce all such documents.

       Under 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct. I am aware that if any of the foregoing statements made by me are willingly false, I am

subject to punishment.



                                                 /s/ Mark W. Halderman
Dated: September 7, 2021                         Mark W. Halderman




                                                3
       Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 11 of 44




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FRANKLIN ARMORY HOLDINGS INC., a
Nevada Corporation; and FRANKLIN                          CIVIL ACTION NO. 2:20-CV-5681
ARMORY INC., a Nevada Corporation,

                                      Plaintiffs,

vs.

ROBERT JOSEPH GALLAGHER, an
individual; and IN THE FIELD DEFENSE, a
sole proprietorship,

                                    Defendants.

 DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF PLAINTIFFS’ SUR-
REPLY IN OPPOSITION TO THE MOTION OF RICHARD P. GILLY, ESQ., TREVOR
   J. COONEY, JR., ESQ., AND KATE A. SHERLOCK, ESQ. TO WITHDRAW AS
                  COUNSEL OF RECORD FOR DEFENDANT

       I, Jeffrey M. Ratinoff, being of full age, hereby certify to the following:

       1.      I am an attorney at law, duly licensed to practice before all courts of the State of

California and admitted pro hac vice in this District, and am of counsel with Hopkins & Carley, a

Law Corporation, attorney of record for Plaintiffs Franklin Armory Holdings Inc. and Franklin

Armory Inc. (collectively “Plaintiffs”) in the above-captioned matter.

       2.      Based on my own personal knowledge, I make this declaration in support of

Plaintiffs’ Sur-Reply in Opposition to the Motion of Richard P. Gilly, Esq., Trevor J. Cooney, Jr.,

Esq., and Kate A. Sherlock, Esq. to Withdraw as Counsel of Record for Defendants Robert Joseph

Gallagher and In The Field Defense (collectively “Defendants”).

       3.      Attached hereto as Exhibit 1 is a true and correct copy of a January 28, 2021 email

I received from Kate Sherlock, which attached a draft joint stipulation to extend the time for

Defendants to respond to the Complaint filed in this action.



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       Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 12 of 44




       4.      Attached hereto as Exhibit 2 is a true and correct copy of the draft joint stipulation

prepared by Counsel for Defendants, which was attached to Ms. Sherlock’s aforementioned

January 28, 2021 email, that identifies In The Field Defense, LLC as one of the Defendants.

       5.      Attached hereto as Exhibit 3 is a true and correct copy of a further January 28,

2021 email exchange between Ms. Sherlock and Christopher Hohn, who was counsel for Plaintiffs

at that time, wherein Defense Counsel agreed to identify both In The Field Defense as a sole

proprietorship and In The Field Defense, LLC as Defendants.

       6.      Attached hereto as Exhibit 4 is a true and correct copy of an email exchange

between Mr. Gilly and Robert Jain, counsel for Plaintiffs, reflecting Plaintiffs’ efforts to schedule

a meet and confer regarding the deficiencies in Defendants’ invalidity contentions.

       7.      On September 1, 2021, the parties held a meet and confer concerning deficiencies

in Defendants’ invalidity contentions. In addition to myself, Mark Halderman and Robert Jain

were in attendance on behalf of Plaintiffs and Richard Gilly was in attendance for Defendants.

       8.      During the meet and confer, we expressed significant concerns with Defendants’

invalidity contentions, including with Defendants’ affirmation that they had no documentary

evidence supporting their prior derivation invalidity defense and their continuing refusal to waive

or dismiss that defense. It was during this call that Mr. Gilly revealed that Defendants intended to

rely solely on the testimony of Mr. Gallagher to support this contention. We reminded Mr. Gilly

that an accused infringer’s testimony alone falls well short of what is required under Federal

Circuit precedent. Nonetheless, we indicated that Defendants were required to disclose this in

their invalidity contentions and provide the specifics as to how the devices allegedly sold before

the priority date of the ’461 Patent pertains to each element of each asserted claim of the ‘461




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       Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 13 of 44




Patent. Consequently, Plaintiffs explained it was their position that this defense was waived, and

should be dismissed.

       9.      We also noted that Defendants failed to identify the five (5) individuals who

purportedly purchased Defendants’ alleged prior art device between 2011 and 2019 as alleged in

Defendants’ Amended Answer and Counterclaims. We reminded Mr. Gilly that the Court made

clear at the Rule 16 conference Defendants must disclose all such evidence in their invalidity

contentions. When asked whether Defense Counsel had possession of such information, Mr. Gilly

surprisingly admitted they did not, and when pressed further, admitted that they had not obtained

that information from Mr. Gallagher prior to filing their Amended Answer and Counterclaims.

Mr. Gilly refused to further discuss the issue after I indicated Plaintiffs had serious concerns that

Defense Counsel had not complied with their Rule 11 obligations with respect to that pleading.

Mr. Gilly then hastily cut off the conversation on that topic.

       10.     We also raised the issue of Defendants’ failure to produce technical documents

showing the operation of each of the accused devices. Mr. Gilly initially took the position that

they were not necessary since the accused product was a simple device. In response, I noted that

this did not excuse Defendants from their obligation to comply with the Court’s requirement that

they produce technical documents sufficient to show the operation of each of the accused devices.

I further explained that Plaintiffs knew that such documents existed based on Mr. Gallagher’s prior

representation to Plaintiffs that he had worked with a CNC manufacturer on a prototype for the

accused products sometime in 2019. This meant that there would necessarily be CAD files and

schematics sufficient to show the design and operation of each of the accused devices identified in

Plaintiffs’ preliminary infringement contentions, which should have been produced.




                                                 3
       Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 14 of 44




       11.     A true and correct copy of an email sent by Robert Jain summarizing what

Plaintiffs’ understanding of what was discussed at the September 1, 2021 meet and confer

conference is attached hereto as Exhibit 5. Mr. Jain asked that Mr. Gilly confirm whether there

were any inaccuracies, and Mr. Gilly responded to this email, stating that “It is inaccurate in several

respects. I will get back to you as to how shortly.” As of the time of this Declaration, Mr. Gilly

has yet to indicate what was inaccurately represented in Mr. Jain’s email.

       Under 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct. I am aware that if any of the foregoing statements made by me are willingly false, I am

subject to punishment.



                                                    /s/ Jeffrey M. Ratinoff
Dated: September 7, 2021                           Jeffrey M. Ratinoff




                                                  4
Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 15 of 44




                   EXHIBIT 1
                 Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 16 of 44


Jeffrey M. Ratinoff

From:                               Sherlock, Kate A. <ksherlock@archerlaw.com> on behalf of Sherlock, Kate A.
Sent:                               Thursday, January 28, 2021 9:56 AM
To:                                 Christopher Hohn
Cc:                                 rgilly@archerlaw.com; Jeffrey M. Ratinoff; MHalderman@atllp.com
Subject:                            [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20-
                                    cv-05681 [IWOV-IDOCS.FID4021599]
Attachments:                        (220188863 – 2) - 2021.01.28 Stipulation of Time to Respond.DOC


Chris,

As promised, attached please find a draft joint stipulation. Please let me know if this is acceptable to Plaintiffs.

Thank you,
Kate




Kate A. Sherlock, Esq.
Archer & Greiner P.C.
One Centennial Square
Haddonfield, NJ 08033
856-673-3919
ksherlock@archerlaw.com
www.archerlaw.com




From: Sherlock, Kate A.
Sent: Wednesday, January 27, 2021 9:41 PM
To: 'Christopher Hohn' <chohn@hopkinscarley.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; Mark Halderman
<MHalderman@atllp.com>
Subject: RE: [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20‐cv‐05681 [IWOV‐
IDOCS.FID4021599]

Chris,

Thank you for the extension and the documents. I’ll send a proposed joint stipulation for your review tomorrow.

Kate

From: Christopher Hohn <chohn@hopkinscarley.com>
Sent: Wednesday, January 27, 2021 3:21 PM
To: Sherlock, Kate A. <ksherlock@archerlaw.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; Mark Halderman
<MHalderman@atllp.com>

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                Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 17 of 44

Subject: RE: [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20‐cv‐05681 [IWOV‐
IDOCS.FID4021599]

Kate,

Thank you for speaking with my yesterday. As I mentioned during our call, Franklin Armory notified Mr. Gallagher and In
the Field Defense that their binary trigger products were infringing in 2019 and tried repeatedly to resolve this matter
outside of litigation. Franklin also provided Mr. Gallagher with a draft courtesy copy of the complaint in October, before
filing. Additionally, Franklin provided Mr. Gallagher with a courtesy copy of the filed complaint in November. At this
point, Mr. Gallagher and In The Field Defense have had more than sufficient time to prepare a response to the
complaint, and Franklin Armory wants to avoid any more unnecessary delay. Nevertheless, as a professional courtesy,
Franklin is willing to agree to a 15‐day extension. Assuming that’s acceptable, please prepare a joint stipulation for our
review.

You mentioned on the call that you had not yet received the documents from your clients, including the proposed
stipulated judgment that Franklin provided to Mr. Gallagher. As another professional courtesy, attached please find
some of our correspondence with Mr. Gallagher, along with the proposed stipulated judgment.

Thank you, and please let me know if you have any questions.

Best,

‐Chris Hohn

From: Sherlock, Kate A. <ksherlock@archerlaw.com>
Sent: Monday, January 25, 2021 4:30 PM
To: Christopher Hohn <chohn@hopkinscarley.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; Mark Halderman
<MHalderman@atllp.com>
Subject: Re: [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20‐cv‐05681 [IWOV‐
IDOCS.FID4021599]

Chris,

Sure. I’m available tomorrow at 1:30 pm EST. Please call me on my direct: 856-673-3919.

Thanks,
Kate

Sent from my iPhone




Kate A. Sherlock, Esq.

Archer & Greiner P.C.
One Centennial Square
Haddonfield, NJ 08033
856-673-3919
ksherlock@archerlaw.com

                                                             2
               Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 18 of 44

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[https://www.archerlaw.com/wp-content/uploads/2018/05/Archer_Logo_168x46.jpg]

On Jan 25, 2021, at 6:34 PM, Christopher Hohn <chohn@hopkinscarley.com> wrote:


Kate,

Nice to meet you. Do you have time tomorrow for a phone call to discuss the requested extension? I have
availability from 9:00 a.m. to 11:00 a.m. Pacific (12:00 p.m. to 2:00 p.m. Eastern). I also have some time after
1:00 p.m. Pacific (4:00 p.m. Eastern).

Thanks,

-Chris Hohn

From: Mark Halderman <MHalderman@atllp.com>
Sent: Friday, January 22, 2021 10:59 AM
To: Sherlock, Kate A. <ksherlock@archerlaw.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Christopher Hohn <chohn@hopkinscarley.com>; Jeffrey M.
Ratinoff <jratinoff@hopkinscarley.com>
Subject: RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20-cv-05681 [IWOV-
IDOCS.FID4021599]

Hi Kate,

Thanks for the email. Chris Hohn and Jeff Ratinoff (CC’ed) are lead counsel in this case. I’ll defer to them on
Defendants’ request for an extension. Thanks,

Mark




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intended recipient or Armstrong Teasdale LLP. If you are not the intended recipient, any disclosure, copying,
distribution or use of any of the information contained in or attached to this transmission is strictly prohibited. If
you have received this transmission in error, please contact us immediately by e-mail
(admin@armstrongteasdale.com<mailto:admin@armstrongteasdale.com>) or telephone (314-621-5070) and
promptly destroy the original transmission and its attachments. Opinions, conclusions and other information in
this message that do not relate to the official business of Armstrong Teasdale LLP shall be understood as neither
given nor endorsed by it.


From: Sherlock, Kate A. [mailto:ksherlock@archerlaw.com]
Sent: Friday, January 22, 2021 1:40 PM
To: Mark Halderman
Cc: Gilly, Richard P.
Subject: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20-cv-05681
                                                          3
              Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 19 of 44


CAUTION:

EXTERNAL EMAIL


Good afternoon, Mr. Halderman,

Archer and Greiner has just been retained by Mr. Robert Gallagher in connection with the above-captioned
matter. I am reaching out to request Plaintiffs’ consent to a 30-day extension for Defendants to respond to the
Complaint. Please let me know if this is acceptable and I will prepare the joint stipulation.

Thank you,
Kate



Kate A. Sherlock, Esq.

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www.archerlaw.com<http://www.archerlaw.com/>

[https://www.archerlaw.com/wp-content/uploads/2018/05/Archer_Logo_168x46.jpg]

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__________________________________________________________________________________________
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               Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 20 of 44

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Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 21 of 44




                   EXHIBIT 2
       Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 22 of 44




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FRANKLIN ARMORY HOLDINGS, INC., a
 Nevada  Corporation;   and     FRANKLIN
 ARMORY, INC., a Nevada Corporation,                         CIVIL ACTION NO. 2:20-CV-5681

                             Plaintiffs,
 v.

 ROBERT JOSEPH GALLAGHER, an
 individual; and IN THE FIELD DEFENSE, a
 sole proprietorship,

                             Defendants.

           ___________________________________________________________

                 JOINT STIPULATION FOR EXTENSION OF TIME
          FOR DEFENDANTS TO RESPOND TO PLAINTIFFS’ COMPLAINT
           ___________________________________________________________

       It is hereby stipulated, by and between counsel for Plaintiffs, Franklin Armory Holdings,

Inc. and Franklin Armory, Inc. (together, the “Plaintiffs”), and counsel for Defendants, Robert

Joseph Gallagher and In The Field Defense, LLC (together, the “Defendants”), that the time

within which Defendants may respond to Plaintiff’s Complaint shall be extended to February 18,

2021. It is certified that no previous extension has been agreed upon or granted.
        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 23 of 44




ARMSTRONG TEASDALE LLP                               ARCHER & GREINER, P.C.


By:                                                  By:
      Mark W. Halderman, Esquire                           Richard P. Gilly, Esquire
      2005 Market Street                                   Kate A. Sherlock, Esquire
      29th Floor, One Commerce Square                      Three Logan Square
      Philadelphia, PA 19103                               1717 Arch Street, Suite 3500
      Telephone: (267) 780-2028                            Philadelphia, PA 19103
      mhalderman@atllp.com                                 Telephone: (215) 963-3300
                                                           Facsimile: (215) 963-9999
      Attorneys for Plaintiffs Franklin Armory             rgilly@archerlaw.com
      Holdings, Inc. and Franklin Armory, Inc.             ksherlock@archerlaw.com

                                                           Attorneys for Robert Joseph Gallagher, an
                                                           individual and In The Field Defense, LLC

HOPKINS & CARLEY


By:
      Jeffrey M. Ratinoff, Esquire
      Christopher A. Hohn, Esquire
      The Letitia Building
      70 South First Street
      San Jose, California 95113
      Telephone: (408) 286-9800
      jratinoff@hopkinscarley.com
      chohn@hopkinscarley.com

      Attorneys for Plaintiffs Franklin Armory
      Holdings, Inc. and Franklin Armory, Inc.
                                                     APPROVED BY THE COURT:



                                                     By:
                                                           Hon. Chad Kenney
                                                           UNITED STATES DISTRICT JUDGE
220188863v2




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Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 24 of 44




                   EXHIBIT 3
                 Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 25 of 44


Jeffrey M. Ratinoff

From:                              Sherlock, Kate A. <ksherlock@archerlaw.com> on behalf of Sherlock, Kate A.
Sent:                              Thursday, January 28, 2021 11:19 AM
To:                                Christopher Hohn
Cc:                                rgilly@archerlaw.com; Jeffrey M. Ratinoff; MHalderman@atllp.com
Subject:                           [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20-
                                   cv-05681 [IWOV-IDOCS.FID4021599]
Attachments:                       (220188863 – 2) - 2021.01.28 Stipulation of Time to Respond.DOC


Chris,

I agree with you. A revised version is attached.




Kate A. Sherlock, Esq.
Archer & Greiner P.C.
One Centennial Square
Haddonfield, NJ 08033
856-673-3919
ksherlock@archerlaw.com
www.archerlaw.com




From: Christopher Hohn <chohn@hopkinscarley.com>
Sent: Thursday, January 28, 2021 1:49 PM
To: Sherlock, Kate A. <ksherlock@archerlaw.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; Mark Halderman
<MHalderman@atllp.com>
Subject: RE: [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20‐cv‐05681 [IWOV‐
IDOCS.FID4021599]

Kate,

Thank you. One potential issue: The stipulation identifies the defendants as Robert Joseph Gallagher and In The Field
Defense LLC. As you noted on our call, the complaint identifies the defendants as Mr. Gallagher and In The Field
Defense, a sole proprietorship. It is our understanding that Mr. Gallagher did not form the LLC until November 25, 2020
(after the complaint was filed). To avoid any confusion, we think it makes sense to include the sole proprietorship in the
stipulation as well.

Best,

‐Chris Hohn

From: Sherlock, Kate A. <ksherlock@archerlaw.com>
Sent: Thursday, January 28, 2021 9:55 AM

                                                              1
                 Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 26 of 44

To: Christopher Hohn <chohn@hopkinscarley.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; Mark Halderman
<MHalderman@atllp.com>
Subject: RE: [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20‐cv‐05681 [IWOV‐
IDOCS.FID4021599]

Chris,

As promised, attached please find a draft joint stipulation. Please let me know if this is acceptable to Plaintiffs.

Thank you,
Kate




Kate A. Sherlock, Esq.
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856-673-3919
ksherlock@archerlaw.com
www.archerlaw.com




From: Sherlock, Kate A.
Sent: Wednesday, January 27, 2021 9:41 PM
To: 'Christopher Hohn' <chohn@hopkinscarley.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; Mark Halderman
<MHalderman@atllp.com>
Subject: RE: [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20‐cv‐05681 [IWOV‐
IDOCS.FID4021599]

Chris,

Thank you for the extension and the documents. I’ll send a proposed joint stipulation for your review tomorrow.

Kate

From: Christopher Hohn <chohn@hopkinscarley.com>
Sent: Wednesday, January 27, 2021 3:21 PM
To: Sherlock, Kate A. <ksherlock@archerlaw.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; Mark Halderman
<MHalderman@atllp.com>
Subject: RE: [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20‐cv‐05681 [IWOV‐
IDOCS.FID4021599]

Kate,



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                Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 27 of 44

Thank you for speaking with my yesterday. As I mentioned during our call, Franklin Armory notified Mr. Gallagher and In
the Field Defense that their binary trigger products were infringing in 2019 and tried repeatedly to resolve this matter
outside of litigation. Franklin also provided Mr. Gallagher with a draft courtesy copy of the complaint in October, before
filing. Additionally, Franklin provided Mr. Gallagher with a courtesy copy of the filed complaint in November. At this
point, Mr. Gallagher and In The Field Defense have had more than sufficient time to prepare a response to the
complaint, and Franklin Armory wants to avoid any more unnecessary delay. Nevertheless, as a professional courtesy,
Franklin is willing to agree to a 15‐day extension. Assuming that’s acceptable, please prepare a joint stipulation for our
review.

You mentioned on the call that you had not yet received the documents from your clients, including the proposed
stipulated judgment that Franklin provided to Mr. Gallagher. As another professional courtesy, attached please find
some of our correspondence with Mr. Gallagher, along with the proposed stipulated judgment.

Thank you, and please let me know if you have any questions.

Best,

‐Chris Hohn

From: Sherlock, Kate A. <ksherlock@archerlaw.com>
Sent: Monday, January 25, 2021 4:30 PM
To: Christopher Hohn <chohn@hopkinscarley.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; Mark Halderman
<MHalderman@atllp.com>
Subject: Re: [EXT MAIL] RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20‐cv‐05681 [IWOV‐
IDOCS.FID4021599]

Chris,

Sure. I’m available tomorrow at 1:30 pm EST. Please call me on my direct: 856-673-3919.

Thanks,
Kate

Sent from my iPhone




Kate A. Sherlock, Esq.

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856-673-3919
ksherlock@archerlaw.com
www.archerlaw.com<http://www.archerlaw.com/>

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On Jan 25, 2021, at 6:34 PM, Christopher Hohn <chohn@hopkinscarley.com> wrote:
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               Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 28 of 44



Kate,

Nice to meet you. Do you have time tomorrow for a phone call to discuss the requested extension? I have
availability from 9:00 a.m. to 11:00 a.m. Pacific (12:00 p.m. to 2:00 p.m. Eastern). I also have some time after
1:00 p.m. Pacific (4:00 p.m. Eastern).

Thanks,

-Chris Hohn

From: Mark Halderman <MHalderman@atllp.com>
Sent: Friday, January 22, 2021 10:59 AM
To: Sherlock, Kate A. <ksherlock@archerlaw.com>
Cc: Gilly, Richard P. <rgilly@archerlaw.com>; Christopher Hohn <chohn@hopkinscarley.com>; Jeffrey M.
Ratinoff <jratinoff@hopkinscarley.com>
Subject: RE: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20-cv-05681 [IWOV-
IDOCS.FID4021599]

Hi Kate,

Thanks for the email. Chris Hohn and Jeff Ratinoff (CC’ed) are lead counsel in this case. I’ll defer to them on
Defendants’ request for an extension. Thanks,

Mark




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From: Sherlock, Kate A. [mailto:ksherlock@archerlaw.com]
Sent: Friday, January 22, 2021 1:40 PM
To: Mark Halderman
Cc: Gilly, Richard P.
Subject: Franklin Armory Holdings, Inc. et al., v. Robert Gallagher et al., 2:20-cv-05681

CAUTION:

EXTERNAL EMAIL

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              Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 29 of 44


Good afternoon, Mr. Halderman,

Archer and Greiner has just been retained by Mr. Robert Gallagher in connection with the above-captioned
matter. I am reaching out to request Plaintiffs’ consent to a 30-day extension for Defendants to respond to the
Complaint. Please let me know if this is acceptable and I will prepare the joint stipulation.

Thank you,
Kate



Kate A. Sherlock, Esq.

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One Centennial Square
Haddonfield, NJ 08033
856-673-3919
ksherlock@archerlaw.com<mailto:ksherlock@archerlaw.com>
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       Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 31 of 44




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FRANKLIN ARMORY HOLDINGS, INC., a
 Nevada  Corporation;   and     FRANKLIN
 ARMORY, INC., a Nevada Corporation,                         CIVIL ACTION NO. 2:20-CV-5681

                             Plaintiffs,
 v.

 ROBERT JOSEPH GALLAGHER, an
 individual; and IN THE FIELD DEFENSE, a
 sole proprietorship,

                             Defendants.

            ___________________________________________________________

                 JOINT STIPULATION FOR EXTENSION OF TIME
          FOR DEFENDANTS TO RESPOND TO PLAINTIFFS’ COMPLAINT
           ___________________________________________________________

       It is hereby stipulated, by and between counsel for Plaintiffs, Franklin Armory Holdings,

Inc. and Franklin Armory, Inc. (together, the “Plaintiffs”), and counsel for Defendants, Robert

Joseph Gallagher and In The Field Defense, a sole proprietorship (n/k/a In The Field Defense

LLC) (together, the “Defendants”), that the time within which Defendants may respond to

Plaintiff’s Complaint shall be extended to February 18, 2021. It is certified that no previous

extension has been agreed upon or granted.
        Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 32 of 44




ARMSTRONG TEASDALE LLP                               ARCHER & GREINER, P.C.


By:                                                  By:
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      2005 Market Street                                   Kate A. Sherlock, Esquire
      29th Floor, One Commerce Square                      Three Logan Square
      Philadelphia, PA 19103                               1717 Arch Street, Suite 3500
      Telephone: (267) 780-2028                            Philadelphia, PA 19103
      mhalderman@atllp.com                                 Telephone: (215) 963-3300
                                                           Facsimile: (215) 963-9999
      Attorneys for Plaintiffs Franklin Armory             rgilly@archerlaw.com
      Holdings, Inc. and Franklin Armory, Inc.             ksherlock@archerlaw.com

                                                           Attorneys for Robert Joseph Gallagher, an
                                                           individual and In The Field Defense, a
                                                           sole proprietorship

HOPKINS & CARLEY


By:
      Jeffrey M. Ratinoff, Esquire
      Christopher A. Hohn, Esquire
      The Letitia Building
      70 South First Street
      San Jose, California 95113
      Telephone: (408) 286-9800
      jratinoff@hopkinscarley.com
      chohn@hopkinscarley.com

      Attorneys for Plaintiffs Franklin Armory
      Holdings, Inc. and Franklin Armory, Inc.
                                                     APPROVED BY THE COURT:



                                                     By:
                                                           Hon. Chad Kenney
                                                           UNITED STATES DISTRICT JUDGE
220188863v2




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Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 33 of 44




                   EXHIBIT 4
                   Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 34 of 44


Jeffrey M. Ratinoff

From:                                Robert K. Jain
Sent:                                Friday, August 27, 2021 9:23 AM
To:                                  Gilly, Richard P.; Franchetti, Nicholas T.; Cooney, Trevor J.
Cc:                                  Jeffrey M. Ratinoff; mhalderman@atllp.com
Subject:                             RE: Proposed Global Meet and Confer - Franklin Armory Inc. et al. v. Gallagher, et al.,
                                     E.D. Pa., Case No. 2:20-cv-5681


Richard,

Thank you for finally responding to our three‐week old request to meet and confer. You provided very specific times,
none of which we are available. If you have some other availability between 9:00 am PDT and 11:30 pm PDT on
September 1st please let us know.

Thank you,

Robert K. Jain
Associate




Hopkins & Carley | A Law Corporation
San Jose | Palo Alto
70 South First Street | San Jose, CA 95113
Direct: 408.299.1445 | Main: 408.286.9800
Fax: 408.998.4790
rjain@hopkinscarley.com
hopkinscarley.com


From: Gilly, Richard P. <rgilly@archerlaw.com>
Sent: Thursday, August 26, 2021 12:57 PM
To: Robert K. Jain <rjain@hopkinscarley.com>; Franchetti, Nicholas T. <nfranchetti@archerlaw.com>; Cooney, Trevor J.
<tcooney@archerlaw.com>
Cc: Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; mhalderman@atllp.com
Subject: Proposed Global Meet and Confer ‐ Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa., Case No. 2:20‐cv‐
5681

Plaintiffs’ Counsel,
We are available for the global meet and confer you suggested below, at 3 pm Eastern on either August 30, 31 or Sept 1.
Please advise.




Richard P. Gilly, Esq.
Archer & Greiner P.C.
Three Logan Square
1717 Arch Street, Suite 3500
Philadelphia, PA 19103
215-246-3112

                                                               1
                  Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 35 of 44
rgilly@archerlaw.com
www.archerlaw.com




From: Robert K. Jain <rjain@hopkinscarley.com>
Sent: Thursday, August 19, 2021 12:10 PM
To: Gilly, Richard P. <rgilly@archerlaw.com>; Franchetti, Nicholas T. <nfranchetti@archerlaw.com>; Cooney, Trevor J.
<tcooney@archerlaw.com>
Cc: Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; mhalderman@atllp.com
Subject: [EXT MAIL] RE: Response to your Email of Aug 13, 2021: Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa.,
Case No. 2:20‐cv‐5681

Richard,

Do Defendants intend to continue the assertion of their prior derivation defense, yes or no? Your contentions do not
answer this very simple question, and thus we ask that it be clearly answered.

Additionally, we believe a global meet and confer over the parties’ respective contentions would make the most
sense. We note that Defendants’ preliminary invalidity contentions failed include technical documents sufficient to
show the operation of the accused products. We understand that such documents, including CAD files for both the
prototype for the ITFD trigger that existed in 2019 and the later production versions exist. Yet, Defendants inexplicable
failed to produce such documents. Also, I would remind you that per the Court’s Order Governing Proceedings the
parties are to first meet and confer, and then raise any unresolved issues via a conference with the Court before rushing
to file a motion to compel.

Last, please provide us with a copy of Mr. Gallagher’s email correspondence to the Court as referenced in the Court’s
August 13, 2021 notice. Such ex parte communications are not privileged and Plaintiffs should have received a copy
pursuant to the Court’s Standing Order re Policies and Procedures for Counsel.

Regards,


Robert K. Jain
Associate




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Fax: 408.998.4790
rjain@hopkinscarley.com
hopkinscarley.com


From: Gilly, Richard P. <rgilly@archerlaw.com>
Sent: Thursday, August 19, 2021 4:34 AM
To: Robert K. Jain <rjain@hopkinscarley.com>; Franchetti, Nicholas T. <nfranchetti@archerlaw.com>; Cooney, Trevor J.
<tcooney@archerlaw.com>
Cc: Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; mhalderman@atllp.com
                                                              2
                   Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 36 of 44

Subject: RE: Response to your Email of Aug 13, 2021: Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa., Case No.
2:20‐cv‐5681

Dear Plaintiffs’ counsel,
To the extent Plaintiffs’ long and convoluted email below sets out statements, characterizations, or stipulations as to any
facts or circumstances, or seeks to bind, obligate or otherwise constrain Defendants as to any position or cause of
action, the foregoing are denied and rejected. Defendants’ Preliminary Invalidity Contentions as filed speak for
themselves.

Without waiver, we shall advise you of a mutually convenient meet and confer date as to the inadequacies of your
Preliminary Infringement Contentions in advance of the filing of any Motion regarding same.




Richard P. Gilly, Esq.
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Three Logan Square
1717 Arch Street, Suite 3500
Philadelphia, PA 19103
215-246-3112
rgilly@archerlaw.com
www.archerlaw.com




From: Robert K. Jain <rjain@hopkinscarley.com>
Sent: Wednesday, August 18, 2021 4:27 PM
To: Gilly, Richard P. <rgilly@archerlaw.com>; Franchetti, Nicholas T. <nfranchetti@archerlaw.com>; Cooney, Trevor J.
<tcooney@archerlaw.com>
Cc: Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>; mhalderman@atllp.com
Subject: [EXT MAIL] RE: Response to your Email of Aug 13, 2021: Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa.,
Case No. 2:20‐cv‐5681

Dear Counsel,

Thank you for clarifying Defendants’ invalidity position. Based on your representation that “Defendants are not making
prior‐art based invalidity contentions . . . in this litigation at this time,” it is our understanding that Defendants will not
further pursue any § 102 or § 103 invalidity theories that rely on any prior art referenced in Defendants’ Amended
Answer and Counterclaims, including U.S. Patent Nos. 8,667,881 (“Hawbaker”), 9,719,744 (“Horch”), and 2,027,950
(“Young”), and/or Defendants’ prior conception claims. Please notify us immediately if we have misunderstood
Defendants’ position in any respect so that these positions can be clarified before the parties’ exchange of proposed
claim terms.

Assuming our understanding is correct, we believe a joint stipulation removing these counterclaims and defenses from
the case is appropriate at this time in order to narrow the issues before the Court and promote judicial economy. To the
extent Defendants are unwilling to enter such a stipulation, we trust that Defendants will comply with their continuing
obligations under Rule 11 to not litigate these invalidity theories previously alleged in their Amended Answer and
Counterclaim as such an attempt would be unmeritorious or frivolous in view of their more recent invalidity
                                                               3
                 Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 37 of 44

position. See Fed.R.Civ.P. 11(b), Notes of the Advisory Committee on Rules, 1993 Amendments (“a litigant's obligations
with respect to the contents of [papers filed with the court] are not measured solely as of the time they are filed with or
submitted to the court, but include reaffirming to the court and advocating positions contained in those pleadings and
motions after learning that they have ceased to have any merit”); see also Hanoverian Inc. v. Pa. Dept. of Envtl Prot., Civ.
A. No. 07‐658, 2008 WL 906545 (M.D.Pa. March 31, 2008) (sanctioning a party for continuing to advocate claims full of
gross misrepresentations of the law after learning of these numerous deficiencies). Any attempt to reassert a claim or
defense based upon Defendants’ alleged prior conception also would violate the Court’s express instruction during the
June 17, 2021 pre‐trial conference directing Defendants to produce all evidence substantiating such positions prior to
claim construction. See Dkt. 36, p. 18, lines 1‐13 (“[The Court:] . . . with the invalidity contentions, defendant is going to
come through with the prior art including the 2011 development through 2015 of his own client on accused product.”).

With regard to Defendants’ request to meet and confer concerning Plaintiffs’ Preliminary Infringement Contentions, we
are available on Friday, August 20, 2021 between 10:30 am – 1:30 pm PT (1:30 pm – 4:30 pm ET) and on Monday,
August 24, 2021 between 9 am – 12 pm PT (12 pm – 3 pm ET). Please let us know which of these times you are available
to meet. In the interest of having a productive meet and confer, please identify what information Defendants’ believe is
missing from Plaintiffs’ contentions before our meeting.

Regards,


Robert K. Jain
Associate




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From: Gilly, Richard P. <rgilly@archerlaw.com>
Sent: Monday, August 16, 2021 12:35 PM
To: Robert K. Jain <rjain@hopkinscarley.com>; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>;
mhalderman@atllp.com
Cc: Cooney, Trevor J. <tcooney@archerlaw.com>; Franchetti, Nicholas T. <nfranchetti@archerlaw.com>
Subject: Response to your Email of Aug 13, 2021: Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa., Case No. 2:20‐
cv‐5681

Plaintiffs’ Counsel:
Our Preliminary Invalidity Contentions are self‐explanatory, namely, that Defendants are not making prior‐art based
invalidity contentions, such as based on Hawbaker and Horch, in this litigation at this time. Accordingly, no prior‐art
claim charts are required, and our document complies with the Order. That fact, however, does not necessitate joint
stipulations at this time in this case, especially in view of ongoing discovery of additional facts and circumstances which
may lead to invalidating prior art under 35 USC section 102 or 103, such as Plaintiffs' sales of the same or similar triggers
prior to the critical date of the '461 Patent. Furthermore, the meet and confer process is intended in advance of a
party’s filing a particular motion to discuss potentially avoiding same. You have not identified any particular motion to
discuss.



                                                              4
                   Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 38 of 44

On the other hand, Plaintiffs' preliminary infringement contentions are incomplete as to the claims allegedly infringed,
and your contentions are non‐responsive as to the requirement of providing "all documents" evidencing conception and
reduction to practice of the “invention.” Accordingly, please advise as to your availability to meet and confer to discuss
your intention to provide us the missing information, in order to avoid our filing of a motion to compel production of the
missing information required by the Court’s Order.




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From: Robert K. Jain <rjain@hopkinscarley.com>
Sent: Friday, August 13, 2021 3:06 PM
To: Gilly, Richard P. <rgilly@archerlaw.com>; Cooney, Trevor J. <tcooney@archerlaw.com>; Franchetti, Nicholas T.
<nfranchetti@archerlaw.com>
Cc: mhalderman@atllp.com; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>
Subject: [EXT MAIL] RE: Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa., Case No. 2:20‐cv‐5681

Counsel,

We understand from the Court’s notice filed this afternoon that you intend to withdraw from your representation of
Defendants Mr. Gallagher and In The Field Defense. Until your withdrawal is approved, we expect that you will continue
to comply with the scheduling order per the Court’s instruction.

To that end, it is essential that the parties meet and confer concerning Plaintiffs’ August 6 correspondence regarding
Defendants’ invalidity contentions before the exchange of claim terms on August 19. Plaintiffs are available to meet and
confer on Monday, August 15 between 11 am–2 pm PT (2 pm–5 pm ET) as well as on Tuesday, August 16 between 1
pm–3 pm PT (4 pm–6 pm ET).

Please confirm which of these times Defendants are available to meet. If these neither of these times are suitable,
please provide alternate times when Defendants are available.

Thank you,

Robert K. Jain
Associate




                                                            5
                   Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 39 of 44




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From: Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>
Sent: Tuesday, August 10, 2021 9:14 AM
To: Gilly, Richard P. <rgilly@archerlaw.com>; Cooney, Trevor J. <tcooney@archerlaw.com>; nfranchetti@archerlaw.com
Cc: mhalderman@atllp.com; nfranchetti@archerlaw.com; Robert K. Jain <rjain@hopkinscarley.com>
Subject: RE: Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa., Case No. 2:20‐cv‐5681

Counsel,

It is not acceptable that Defendants will not “consider” the letter sent last Friday until next week, especially since we
need to exchange claim terms on August 19. We asked whether Defendants will stipulate to the dismissal of their
invalidity counterclaim and affirmative defense to the extent that they are based on §§ 101, 102 and 103. It is difficult
to believe that the three attorneys working on this case are too busy to respond to this straight‐forward question or
cannot meet and confer this week. Please provide your availability for a meet and confer call, otherwise it appears that
we’ll need to contact the clerk to schedule a call with the Judge to resolve this issue.

Thanks,
Jeff

From: Gilly, Richard P. <rgilly@archerlaw.com>
Sent: Tuesday, August 10, 2021 8:57 AM
To: Robert K. Jain <rjain@hopkinscarley.com>; Cooney, Trevor J. <tcooney@archerlaw.com>
Cc: mhalderman@atllp.com; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>
Subject: RE: Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa., Case No. 2:20‐cv‐5681

Trevor and I are out of pocket this week and will consider your correspondence next week.




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                 Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 40 of 44




From: Robert K. Jain <rjain@hopkinscarley.com>
Sent: Friday, August 6, 2021 5:06 PM
To: Gilly, Richard P. <rgilly@archerlaw.com>; Cooney, Trevor J. <tcooney@archerlaw.com>
Cc: mhalderman@atllp.com; Jeffrey M. Ratinoff <jratinoff@hopkinscarley.com>
Subject: [EXT MAIL] Franklin Armory Inc. et al. v. Gallagher, et al., E.D. Pa., Case No. 2:20‐cv‐5681

Counsel:

Please find attached Plaintiffs’ correspondence regarding Defendants’ Preliminary Invalidity Contentions in the above‐
captioned matter.

Regards,

Robert K. Jain
Associate




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___________________________________________________________________________________________

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               Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 41 of 44
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Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 42 of 44
Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 43 of 44
Case 2:20-cv-05681-CFK Document 50-2 Filed 09/07/21 Page 44 of 44
